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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


   SEAN MCGILLIVRAY,
                                                     Civil Action No. 1:21-cv-01152-JGK
                       Plaintiff,

          v.

   READY CAPITAL CORPORATION,
   THOMAS EDWARD CAPASSE, JACK
   JAY ROSS, FRANK P. FILIPPS,
   GILBERT NATHAN, ANDREA
   PETRO, J. MITCHELL REESE, and
   TODD M. SINAI,

                       Defendants.


                       PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

          PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Sean

McGillivray hereby voluntarily dismisses his claims in the above-captioned action (the

“Action”). Defendants have filed neither an answer nor a motion for summary judgment in the

Action.



Dated: March 19, 2021                                     Respectfully submitted,

                                                          By: /s/ Joshua M. Lifshitz
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